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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DEUTSCHE BANK NATIONAL                           §
TRUST COMPANY, AS TRUSTEE                        §
FOR SOUNDVIEW HOME LOAN                          §
TRUST 2006-OPT5, ASSET-BACKED                    §
CERTIFICATES, SERIES 2006-OPT5,                  §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §     Civil Action No.
                                                 §
ESTA LIPPMAN and                                 §
LAWRENCE F. LIPPMAN,                             §
                                                 §
       Defendants.                               §

                          PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff, Deutsche Bank National Trust Company, as Trustee for Soundview Home Loan

Trust 2006-OPT5, Asset-Backed Certificates, Series 2006-OPT (“Plaintiff”), files this its

Original Complaint against Defendants, Esta Lippman and Lawrence P. Lippman

(“Defendants”), and would respectfully show the Court as follows:

                                          I. PARTIES

       1.      Plaintiff is appearing through its undersigned counsel of record.

       2.      Defendant Esta Lippman is an individual and citizen of the state of Texas who

may be served with process at her residence, 207 East State St., Eagle Lake, TX 77434-1830, or

at such other place as she may be found. Summons is requested.

       3.      Defendant Lawrence F. Lippman. is an individual and citizen of the state of Texas

who may be served with process at his residence, 207 East State St., Eagle Lake, TX 77434-

1830, or at such other place as he may be found. Summons is requested.




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                                       II. JURISDICTION

       4.      This Court has jurisdiction over this dispute under 28 U.S.C. Section 1332

because there is complete diversity between Plaintiff and Defendants, and the amount in

controversy exceeds $75,000.00.

       5.      Plaintiff is the trustee of a trust. When determining the citizenship of the real

parties in interest for purposes of diversity jurisdiction, it is the citizenship of the trustee which

controls, not the citizenship of the beneficiaries of the trust. Navarro Sav. Assoc. v. Lee, 446 U.S.

458, 464-66 (1980); Manufacturers and Traders Trust Co. v. U.S. Bank USA, N.A., 564 F.

Supp.2d 261, 263 (S.D.N.Y. 2008). Deutsche Bank is a New York corporation with its principal

place of business in California. Therefore, Deutsche Bank is a citizen of New York and

California for diversity purposes.

       5.      Defendants are both citizens of the State of Texas.

       6.      Due to Defendants’ conduct, as alleged herein, Plaintiff has the right to foreclose

upon the real property which secures the repayment of a debt pursuant to a secured lien. The

amount in controversy in a suit for a declaratory judgment for the right to proceed with

foreclosure of real property is the fair market value of the property to be foreclosed. As of the

date of this Complaint, the fair market value of the subject real property is at least $228,280.000.

Alternatively, when seeking foreclosure pursuant to a lien securing the repayment of a debt, the

outstanding amount owed on the debt is the amount in controversy. Farmers Bank of Alexandria

v. Hooff, 32 U.S. 168, 170 (1833). As of June 25, 2021, the total amount owed on the debt at

issue was $217,019.72, with additional interest and amounts accruing. There is no dispute the

$75,000.00 minimum-amount-in controversy threshold is met.




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                                              III. VENUE

        7.      Venue is proper in this district and division, the United States District Court for

the Southern District of Texas, Houston Division, under 28 U.S.C. Section 1391(b)(2) because

the real property that is the subject of this action is situated in this district and division.

                                    IV. SUMMARY OF FACTS

        8.      On or about April 12, 2006, Defendants took out a Texas Home Equity loan as a

first lien on the Property with Option One Mortgage Corporation (“Option One”) in the original

principal amount of $101,400.00 and interest accruing at 11.500% per annum (“the Note”).

Defendants executed a Texas Deed of Trust (“the Security Instrument”) to secure this Home

Equity Loan and recorded same in the Official Public Records of Colorado County, Texas on

April 19, 2006 at Volume 523, Page 024 (“the Loan Agreement”). The real property which

secures the Loan Agreement and on which the Security Instrument was recorded is commonly

known as 207 East State St., Eagle Lake, TX 77434-1830, and is more particularly described at

Exhibit A, attached hereto and incorporated by reference (“the Property”).

        9.      Under the terms of the Loan Agreement, Defendants are required to pay when due

the principal and interest on the debt evidenced by the Note, as well as any applicable charges

and fees due under the Note.

        10.     The Loan Agreement further provides that should Defendants fail to make

payments on the Note as they became due and payable or fail to comply with any or all of the

covenants and conditions of the Security Instrument, that the lender may enforce the Security

Instrument by selling the Property according to law and in accordance with the provisions set out

in the Loan Agreement.

        11.     Option One later assigned the Loan Agreement to Plaintiff. An Assignment of

Deed of Trust reflecting this assignment was recorded on February 19, 2014 in the Official

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Public Records of Colorado County, Texas at Volume 747, Page 163.                 PHH Mortgage

Corporation (“PHH”) is the servicer of the Loan Agreement.

       12.     Defendants failed to pay the amounts owed on the Loan Agreement, and on April

20, 2020, counsel for Plaintiff, served a Notice of Default with Intent to Accelerate to

Defendants. In this Notice of Default with Intent to Accelerate, Defendants were notified that

the amount past due on the loan was $119,777.60 and they needed to pay this sum within thirty

days or the full amounts owed on the Note would be accelerated.

       13.     Defendants failed to cure the default and therefore on June 29, 2021, Plaintiff,

through its counsel, provided Defendants with a Notice of Acceleration. Defendants have not

tendered any payments on the Loan Agreement since the Notice of Default with Intent to

Accelerate was issued.

                V. CAUSE OF ACTION: NON-JUDICIAL FORECLOSURE

       14.     The foregoing paragraphs are incorporated by reference for all purposes.

       15.     Plaintiff seeks a judgment authorizing foreclosure pursuant to the terms of the

Loan Agreement and Texas Property Code Section 51.002.

       16.     A public auction of the Property in conjunction with all other regularly scheduled

non-judicial foreclosure sales on the first Tuesday of the month would provide the most

practical, efficient, and effective means to enforce Plaintiff’s security interest in the Property.

Because the rights, responsibilities, and duties of Plaintiff and the trustee are well known under

Texas Property Code Section 51.002 and Texas case law, a public auction conducted in the same

manner as a non-judicial foreclosure sale would meet all constitutional standards of due process

and would be the most expedient means to put the Property back into the stream of commerce

and the housing stock of the community.



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        VI. ALTERNATIVE CAUSE OF ACTION - JUDICIAL FORECLOSURE

       17.     The foregoing paragraphs are incorporated by reference for all purposes.

       18.     In the alternative, for failure to cure the default of the Loan Agreement, Plaintiff

seeks to enforce its security interest against the Property in an amount equal to the payoff at the

time of judgment.

       19.     Plaintiff seeks a judgment for judicial foreclosure together with an order of sale

issued to the sheriff or constable of the county where the Property is located directing the sheriff

or constable to seize and sell the Property in satisfaction of the Loan Agreement debt, pursuant to

Texas Rule of Civil Procedure 309. Plaintiff also seeks a writ of possession should it acquire title

to the Property after sale as provided in Texas Rule of Civil Procedure 310.

                                   VII. ATTORNEY’S FEES

       20.     The foregoing paragraphs are incorporated by reference for all purposes.

       21.     Plaintiff is entitled to recover its reasonable and necessary attorney fees under the

loan documents and pursuant to Texas Civil Practice and Remedies Code 38.001. Attorney fees

are not sought as a personal judgment against the Defendants, but only as an additional debt

secured by the Security Instrument.

                              VIII. CONDITIONS PRECEDENT

       22.     The foregoing paragraphs are incorporated by reference for all purposes.

       23.     All conditions precedent have been performed or have occurred.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that the Defendants be

summoned to appear and answer, and that, upon final hearing, Plaintiff have and recover a

judgment allowing Plaintiff to proceed with non-judicial foreclosure in accordance with the

Security Instrument, Tex. R. Civ. P. 735 and Texas Property Code section 51.002, or,

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alternatively, through a judgment for judicial foreclosure instructing a marshal or sheriff to seize

and sell the Property in satisfaction of the judgment; plus its interest and attorney’s fees and all

costs of suit. Plaintiff further requests such other and further relief to which it may be entitled at

law or in equity.



                                                      Respectfully submitted,

                                                  By: /s/ Mark D. Cronenwett
                                                     MARK D. CRONENWETT
                                                     Texas Bar No. 00787303
                                                     Southern District No. 21340
                                                     mcronenwett@mwzmlaw.com

                                                  MACKIE WOLF ZIENTZ & MANN, P.C.
                                                  14160 N. Dallas Parkway, Suite 900
                                                  Dallas, Texas 75254
                                                  Phone: (214) 635-2650
                                                  Facsimile: (214) 635-2686

                                                  Attorneys for Plaintiff




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                                 EXHIBIT A

FIELD NOTES OF A SURVEY OF A 0.4321 ACRE TRACT OF LAND. BEING ALL THAT
TRACT LYING AND SITUATED IN COLORADO COUNTY, TEXAS, CITY OF EAGLE
LAKE, BLOCK NO. 36. SAID 0.4321 ACRE TRACT OF LAND BEING THE SAME
PROPERTY DESCRIBED IN A DEED DATED AUGUST 8, 1995 FROM MICHAEL C.
MARLAND, ET. UX. TO LAWRENCE P. LIPPMAN, TRUSTEE, RECORDED IN VOLUME
173, PAGE 650, COLORADO COUNTY OFFICIAL RECORDS TO WHICH REFERENCE IS
MADE FOR ALL PURPOSES AND THE SAID 0.4321 ACRE TRACT BEING DESCRIBED
BY METES AND BOUNDS AS FOLLOWS, TO-WIT: BEGINNING AT A 1/2 INCH IRON
ROD FOUND (NOT CALLED FOR IN RECORD DEED) IN SOUTHWEST LINEOF STATE
STREET FOR NORTH CORNER OF SAID 0.4321 ACRE TRACT, SAID CORNER BEING
ALSO EAST CORNER OF A 0.298 ACRE TRACT OF LAND CONVEYED TO VIRGINIA
WELL, VOLUME 288, PAGE 156, COLORADO COUNTY OFFICIAL RECORDS; THENCE
SOUTH 44 DEGREES 23 MINUTES EAST A DISTANCE OF 146.80 FEET WITH
SOUTHWEST LINE OF SAID STATE STREET TO A 3/8 INCH IRON ROD SET FOR
CORNER, SAID CORNER BEING ALSO NORTH CORNER OF A 1.198 ACRE TRACT
CONVEYED TO STERLING UNITED RESOURCES, VOLUME 146, PAGE 12,
COLORADO COUNTY OFFICIAL RECORDS; THENCE SOUTH 46 DEGREES 08
MINUTES WEST A DISTANCE OF 129.00 FEET WITH NORTHWEST LINE OF SAID
1.198 ACRE TRACT TO A 3/4 INCH IRON PIPE FOUND (NOT CALLED FOR IN RECORD
DEED) FOR CORNER; THENCE NORTH 44 DEGREES 32 MINUTES 46 SECONDS WEST
A DISTANCE OF 144.58 FEET WITH NORTHEAST LINE OF SAID 1.198 ACRE TRACT
AND A 10 FOOT ALLEY TO A 3/4 INCH IRON PIPE FOUND (NOT CALLED FOR IN
RECORD DEED) FOR CORNER, SAID CORNER BEING ALSO SOUTH CORNER OF
SAID 0.298 ACRE TRACT; THENCE NORTH 45 DEGREES 09 MINUTES EAST A
DISTANCE OF 129.41 FEET WITH SOUTHEAST LINE OF SAID 0.298 ACRE TRACT TO
PLACE OF BEGINNING, CONTAINING 0.4321 ACRE OF LAND AS SURVEYED BY
LEONARD W. FRANK, COUNTY SURVEYOR OF COLORADO COUNTY, TEXAS, AND
REGISTERED PROFESSIONAL LAND SURVEYOR, REGISTRATION NO. 1669.




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